           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 1 of 14



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 5   Lawyer for Plaintiff,
          Harrell G. Graham
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10                               UNITED STATES DISTRICT COURT

11                                 FOR THE DISTRICT OF IDAHO

12
13    HARRELL G. GRAHAM,                            Case No.: 3:18-cv-420
14                              Plaintiff,
                                                    COMPLAINT FOR COPYRIGHT
15                   vs.                            INFRINGEMENT AND DAMAGES
16    BUILDASIGN LLC, DBA
      BUILDASIGN.COM, a Texas                       DEMAND FOR JURY TRIAL
17    limited liability company,
18                              Defendant.
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20
21          Plaintiff HARRELL G. GRAHAM (“Graham”) for his complaint

22   against BUILDASIGN LLC, which does business as “BUILDASIGN.COM”

23   (“Build A Sign”), alleges as follows:

24                                           PARTIES

25   1.     Plaintiff Harrell G. Graham is an individual residing in
            the County of Latah, State of Idaho.
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27
     Graham v. BuildASign LLC                   1                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 2 of 14



 1   2.     Defendant Build A Sign is a Texas limited liability
 2          company, having its principal place of business in the
 3          County of Travis, City of Austin, Texas.

 4                              JURISDICTION AND VENUE

 5   3.     This is an action for copyright infringement arising under

 6          the Copyright Act, 17 USC § 101 et seq. This court has

 7          jurisdiction over these federal claims pursuant to 28 USC

 8          §§ 1331 and 1338(a).

 9   4.     This Court has personal jurisdiction over defendant

10          because, among other reasons, defendant does business in

11          the State of Idaho, and Plaintiff is suffering harm in

12          this judicial District.

13   5.     Venue is proper in this district under 28 USC §§

14          1391(b)(1), (c) and § 1400(a) because Defendant is deemed

15          to reside in the District of Idaho as it is subject to

16          personal jurisdiction in Idaho.

17   6.     On information and belief, Defendant markets, has sold and

18          distributed various products, including t-shirts accused

19          of infringing Plaintiff’s copyright, as alleged below,

20          throughout the United States, including to residents of

21          Idaho.

22   7.     Defendant has marketed and sold substantial numbers of t-

23          shirts, including t-shirts accused of infringing

24          Plaintiff’s copyright, to residents of Idaho through its

25          fully interactive website, as well as other channels of

26          distribution, including through amazon.com.

27
     Graham v. BuildASign LLC             2                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 3 of 14



 1                    INFRINGEMENT OF THE PLAINTIFF’S COPYRIGHT
 2   8.     Plaintiff Harrell G. Graham is an individual in the
 3          business of manufacturing and selling items with, among

 4          other things, a work he created in about 1980, shown below

 5          (the “Work”):

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20   9.     The Work above was registered with the copyright office in

21          1982 in connection with t-shirts and given Copyright

22          Registration Number VA 113-657 (“the ‘657 Registration”).

23          A copy of the ‘657 Registration is attached hereto as

24          Exhibit A.

25   10.    The Work above was also registered with the copyright

26          office in 1982 in connection with posters and given

27
     Graham v. BuildASign LLC             3                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 4 of 14



 1          Copyright Registration Number TX 1-021-884 (“the ‘884
 2          Registration”).     A copy of the ‘884 Registration is
 3          attached hereto as Exhibit B.

 4   11.    Mr. Graham works in various media including in artwork

 5          that is then transferred to the t-shirts or other

 6          materials.

 7   12.    Plaintiff is informed and believes that Defendant Build A

 8          Sign is a mail order company doing business in interstate

 9          commerce as BuildASign.com, and is engaged in the business

10          of selling, among other things, soft-shirts, including t-

11          shirts, and various novelty items.

12   13.    Build A Sign sells its wares by internet and catalog sales

13          which are mailed to residents of the state of Idaho.

14   14.    On information and belief, Defendant Build A Sign has sold

15          goods in the state of Idaho since at least 2011 and

16          purposefully directs its sales to Idaho by selling and

17          shipping products to Idaho residents and by mailing

18          catalogs to Idaho residents.

19   15.    During 2016, Plaintiff discovered that the Defendant was

20          printing and selling T-shirts with an image that is

21          substantially similar, if not identical, to Plaintiff's

22          copyrighted Work (“Infringing Product”).        A copy of one

23          such Infringing Product, is shown below:

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     Graham v. BuildASign LLC             4                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 5 of 14



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12   16.    Defendant Build A Sign also sells other Infringing

13          Products through online retailers, such as amazon.com.                An

14          example of such Infringing Products offered by Defendant

15          Build A Sign is shown below:

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     Graham v. BuildASign LLC             5                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 6 of 14



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17   17.    Starting in at least April 2016, Plaintiff submitted

18          copyright infringement claims to amazon.com in connection

19          Infringing Products being supplied by Defendant.

20   18.    In about April 2016, Plaintiff submitted a copyright

21          infringement claim to amazon.com asserting that a t-shirt

22          supplied by Defendant (ASIN B00J8NX51G), identified as

23          “You Are Here Vintage Geek Nerd Funny MENS T-SHIRT Black

24          L” infringed Plaintiff’s copyright registrations,

25          including the ‘657 Registration.

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27
     Graham v. BuildASign LLC             6                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 7 of 14



 1   19.    In about June 2016, Plaintiff submitted a copyright
 2          infringement claim to amazon.com asserting that a t-shirt
 3          supplied by Defendant (ASIN B01DL1XDQW), identified as

 4          “You Are Here Vintage Science Geek Nerd Funny MENS T-SHIRT

 5          - RED Xlarge” infringed Plaintiff’s copyright

 6          registrations, including the ‘657 Registration.

 7   20.    In about September 2016, Plaintiff submitted a copyright

 8          infringement claim to amazon.com (Complaint ID Nos.

 9          699074751, 699074781, and 699074801) asserting that t-

10          shirts sold by Defendant and identified as “You Are Here

11          Vintage Science Geek Nerd Funny MENS T-SHIRT - Black -

12          4XLarge” (ASIN B01DL1X6KA), and “You Are Here Vintage

13          Science Geek Nerd Funny MENS T-SHIRT - Black - Large”

14          (ASIN B01DL1X3Y4) infringed Plaintiff’s copyright

15          registrations, including the ‘657 Registration.

16   21.    In about December 2016, Plaintiff submitted a copyright

17          infringement claim to amazon.com (Complaint ID No.

18          771099011) asserting that a t-shirt supplied by Defendant

19          and identified as “You Are Here Vintage Science Geek Nerd

20          Funny MENS T-SHIRT - Blue - Medium” (ASIN B01DL17VS)

21          infringed Plaintiff’s copyright registrations, including

22          the ‘657 Registration.

23   22.    In about December 2016, Plaintiff submitted a copyright

24          infringement claim to amazon.com asserting that a t-shirt

25          supplied by Defendant and identified as “You Are Here

26          Vintage Science Geek Nerd Funny MENS T-SHIRT” (ASIN

27
     Graham v. BuildASign LLC             7                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 8 of 14



 1          B01DL39QVG) infringed Plaintiff’s copyright registrations,
 2          including the ‘657 Registration.
 3   23.    In about August 2017, Plaintiff submitted a copyright

 4          infringement claim to amazon.com asserting that t-shirts

 5          supplied and sold by Defendant and identified as “You Are

 6          Here Vintage Science Geek Nerd Funny MENS T-SHIRT” (ASIN

 7          Nos. B06XY25F23, B07167SMJB, B06Y4159MH, B06XZLZZR5,

 8          B06XXRFLWP, B06XY25F23, B07167SMJB, B06Y4159MH, and

 9          B06XXRFLWP) infringed Plaintiff’s copyright registrations,

10          including the ‘657 Registration.

11   24.    In about December 2017, Plaintiff submitted a copyright

12          infringement claims to amazon.com (Claim ID Nos.

13          1277024201, 1277024231, 1277024211, and 1277024221),

14          asserting that t-shirts supplied by Defendant and

15          identified as “You Are Here Vintage Science Geek Nerd

16          Funny MENS T-SHIRT” (ASINs B06XZLZZR5, B07167SMJB,

17          B06XXRFLWP, and B06Y4159MH), infringed Plaintiff’s

18          copyright registrations, including the ‘657 Registration.

19   25.    In about February 2018, Plaintiff submitted a copyright

20          infringement claim to amazon.com asserting that a t-shirt

21          supplied by Defendant and identified as “You Are Here

22          Vintage Science Geek Nerd Funny MENS T-SHIRT - Green”

23          (ASIN B06XZLZZR5) infringed Plaintiff’s copyright

24          registrations, including the ‘657 Registration.

25   26.    On information and belief, Plaintiff’s copyright

26          infringement claims to amazon.com gave notice to Defendant

27
     Graham v. BuildASign LLC             8                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 9 of 14



 1          of Plaintiff’s copyright registrations, including the ‘657
 2          Registration, and Plaintiff’s claim that Defendant
 3          Infringing Products infringed Plaintiff’s copyrights.

 4   27.    In response to Plaintiff’s copyright infringement claims,

 5          amazon.com removed some or all of Defendant’s Infringing

 6          Products from amazon.com’s website.

 7   28.    Following amazon.com’s removal of Defendant’s Infringing

 8          Products from amazon.com’s website, Defendant’s Infringing

 9          Products were put back on the amazon.com website.

10   29.    Upon information and belief, Defendant’s manufacture,

11          reproduction, distribution, and display of Plaintiff’s

12          Work continues with knowledge of Plaintiff’s copyrights.

13                              FIRST CLAIM FOR RELIEF

14                              The ‘657 Registration

15                (Copyright Infringement - 17 USC § 101 et seq)

16   30.    Plaintiff realleges and incorporates by reference each and

17          every allegation of the preceding paragraphs.

18   31.    Plaintiff is the owner of all right, title and interest to

19          the Work.

20   32.    The Work was registered with the United States Copyright

21          Office, as evidenced by the ‘657 Registration.

22   33.    Defendant Build A Sign copied, reproduced, distributed,

23          adapted and/or publicly displayed Plaintiff’s copyrighted

24          Work without the consent, permission or authority of

25          Plaintiff, thereby directly infringing the ‘657

26          Registration.

27
     Graham v. BuildASign LLC             9                           Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 10 of 14



 1   34.    In at least 2016, Plaintiff gave notice to Defendant that
 2          he was the author of the Work and owner of the copyright
 3          ‘657 Registration for the Work.

 4   35.    Defendant Build A Sign has continued to advertise and sell

 5          Infringing Products since being notified of Plaintiff’s

 6          copyright.

 7   36.    Defendant Build A Sign’s conduct constitutes infringement

 8          of Plaintiff’s Work and copyright and exclusive rights

 9          under the ‘657 Registration in violation of Sections 106

10          and 501 of the Copyright Act, 17 USC§§ 106 and 501.

11   37.    Each infringement of Plaintiff’s rights in and to the Work

12          and the ‘657 Registration constitutes a separate and

13          distinct act of infringement.

14   38.    As a direct and proximate result of the infringements by

15          Defendant Build A Sign of Plaintiff’s Work and exclusive

16          rights under the ‘657 Registration, Plaintiff is entitled

17          to his actual damages and Defendant Build A Sign's

18          profits, pursuant to 17 USC § 504(a) and (b).

19   39.    As a direct and proximate result of the infringements by

20          Defendant Build A Sign of Plaintiff’s Work and exclusive

21          rights under the ‘657 Registration, Plaintiff is entitled

22          to statutory damages, pursuant to 17 USC § 504(a) and (c).

23   40.    The acts of infringement by Defendant have been willful,

24          intentional and purposeful, in reckless disregard of and

25          with indifference to the rights of Plaintiff and therefore

26          Plaintiff is also entitled to an award of statutory

27
     Graham v. BuildASign LLC             10                          Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 11 of 14



 1          damages pursuant to 17 USC § 504(c).
 2   41.    The acts of infringement by Defendant have been willful,
 3          intentional and purposeful, in reckless disregard of and

 4          with indifference to the rights of Plaintiff and therefore

 5          Plaintiff is also entitled to an award of additional

 6          damages pursuant to 17 USC § 504(d).

 7   42.    Plaintiff is also entitled to prejudgment interest on any

 8          damage award.

 9   43.    The conduct of Defendant Build A Sign is causing, and

10          unless enjoined and restrained by this Court, will

11          continue to cause irreparable injury that cannot be fully

12          compensated by money and for which Plaintiff has no

13          adequate remedy at law.      Pursuant to 17 USC§ 502,

14          Plaintiff is entitled to injunctive relief prohibiting

15          further infringements of his copyright.

16                              SECOND CLAIM FOR RELIEF

17                               The ‘884 Registration

18                (Copyright Infringement - 17 USC § 101 et seq)

19   44.    Plaintiff realleges and incorporates by reference each and

20          every allegation of the preceding paragraphs.

21   45.    Plaintiff is the owner of all right, title and interest to

22          the Work.

23   46.    The Work was registered with the United States Copyright

24          Office, as evidenced by the ‘884 Registration.

25   47.    Defendant Build A Sign copied, reproduced, distributed,

26          adapted and/or publicly displayed Plaintiff’s copyrighted

27
     Graham v. BuildASign LLC             11                          Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 12 of 14



 1          Work without the consent, permission or authority of
 2          Plaintiff, thereby directly infringing the ‘884
 3          Registration.

 4   48.    In at least 2016, Plaintiff gave notice to Defendant that

 5          he was the author of the Work.

 6   49.    Defendant Build A Sign has continued to advertise and sell

 7          Infringing Products since being notified of Plaintiff’s

 8          copyright.

 9   50.    Defendant Build A Sign’s conduct constitutes infringement

10          of Plaintiff’s Work and copyright and exclusive rights

11          under the ‘884 Registration in violation of Sections 106

12          and 501 of the Copyright Act, 17 USC§§ 106 and 501.

13   51.    Each infringement of Plaintiff’s rights in and to the Work

14          and the ‘884 Registration constitutes a separate and

15          distinct act of infringement.

16   52.    As a direct and proximate result of the infringements by

17          Defendant Build A Sign of Plaintiff’s Work and exclusive

18          rights under the ‘884 Registration, Plaintiff is entitled

19          to his actual damages and Defendant Build A Sign's

20          profits, pursuant to 17 USC § 504(a) and (b).

21   53.    As a direct and proximate result of the infringements by

22          Defendant Build A Sign of Plaintiff’s Work and exclusive

23          rights under the ‘884 Registration, Plaintiff is entitled

24          to statutory damages, pursuant to 17 USC § 504(a) and (c).

25   54.    The acts of infringement by Defendant have been willful,

26          intentional and purposeful, in reckless disregard of and

27
     Graham v. BuildASign LLC             12                          Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 13 of 14



 1          with indifference to the rights of Plaintiff and therefore
 2          Plaintiff is also entitled to an award of statutory
 3          damages pursuant to 17 USC § 504(c).

 4   55.    The acts of infringement by Defendant have been willful,

 5          intentional and purposeful, in reckless disregard of and

 6          with indifference to the rights of Plaintiff and therefore

 7          Plaintiff is also entitled to an award of additional

 8          damages pursuant to 17 USC § 504(d).

 9   56.    Plaintiff is also entitled to prejudgment interest on any

10          damage award.

11   57.    The conduct of Defendant Build A Sign is causing, and

12          unless enjoined and restrained by this Court, will

13          continue to cause irreparable injury that cannot be fully

14          compensated by money and for which Plaintiff has no

15          adequate remedy at law.      Pursuant to 17 USC§ 502,

16          Plaintiff is entitled to injunctive relief prohibiting

17          further infringements of his copyright.

18                               PRAYER FOR RELIEF

19   58.    Plaintiff Harrell G. Graham therefore prays that the Court

20          enter Judgment in his favor against Defendant BuildASign

21          LLC granting the following relief:

22          a.      Actual damages pursuant to 17 USC§ 504(b);

23          b.      Build A Sign's profits pursuant to 17 USC§ 504(b);

24          c.      Statutory Damages of $150,000 per infringement

25                  pursuant to 17 USC§ 504(c);

26          d.      Plaintiff’s reasonable attorney fees;

27
     Graham v. BuildASign LLC             13                          Complaint
           Case 3:18-cv-00420-REB Document 1 Filed 10/02/18 Page 14 of 14



 1          e.      Prejudgment interest on any damages awarded;
 2          f.      A permanent injunction enjoining Build A Sign from
 3                  engaging in any conduct constituting an infringement

 4                  of Plaintiff’s copyright, pursuant to 17 USC § 502;

 5          g.      Plaintiff’s costs and disbursements incurred herein

 6                  pursuant to 17 USC § 502; and

 7          h.      such other and further relief as the Court deems

 8                  just.

 9                              DEMAND FOR JURY TRIAL

10          Plaintiff Harrell G. Graham hereby requests trial by jury.

11
12   DATED:         October 2, 2018     /Duncan Palmatier/
                                         Duncan Palmatier
13
                                         Law Office of Duncan Palmatier,
14                                       Lawyer for Plaintiff,
                                              Harrell G. Graham
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     Graham v. BuildASign LLC             14                          Complaint
